                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      MILWAUKEE DIVISION


LYNN KNULL,
on behalf of herself and
all others similarly situated,                              Case No. 19-cv-1818

                Plaintiff,                                  COLLECTIVE AND CLASS
        v.                                                  ACTION PURSUANT TO
                                                            29 U.S.C. §216(b) AND
ST. CROIX HOSPICE, LLC                                      AND FED. R. CIV. P. 23
7755 3rd Street North, Suite 200
Oakdale, Minnesota 55128                                    JURY TRIAL DEMANDED

                and

HOMETOWN HOSPICE & HOMECARE, INC.
13255 West Bluemound Road, Suite 103
Brookfield, Wisconsin 53005

                Defendants



                                          COMPLAINT



                                   PRELIMINARY STATEMENT

        1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Lynn Knull, against Defendants, St. Croix Hospice, LLC and Hometown

Hospice & Homecare, Inc.

        2.      Plaintiff brings these FLSA and WWPCL claims and causes of action against

Defendants on behalf of herself and all other similarly-situated current and former hourly-paid,



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non-exempt employees of Defendants for purposes of obtaining relief under the FLSA and

WWPCL for unpaid overtime compensation, liquidated damages, costs, attorneys’ fees,

declaratory and/or injunctive relief, and/or any such other relief the Court may deem appropriate.

       3.      Defendants operated an unlawful compensation system that deprived current and

former hourly-paid, non-exempt employees of their wages earned for all compensable work

performed each workweek, including at an overtime rate of pay for each hour worked in excess

of forty (40) hours in a workweek. Specifically, Defendants’ unlawful compensation system

failed to include all forms of non-discretionary compensation, such as monetary bonuses,

commissions, incentives, awards, and/or other rewards and payments, in all current and former

hourly-paid, non-exempt employees’ regular rates of pay for overtime calculation purposes, in

violation of the FLSA and WWPCL.

       4.      Defendants’ deliberate failure to compensate its hourly-paid, non-exempt

employees for hours worked and work performed at the proper and legal rate(s) of pay violated

federal law as set forth in the FLSA and state law as set forth in the WWPCL.

                                 JURISDICTION AND VENUE

       5.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       6.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et

seq., and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action

within such original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution.




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       7.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because

Defendants do business, and have substantial and systematic contacts, in this District.

                                 PARTIES AND COVERAGE

       8.      Plaintiff, Lynn Knull, is an adult female resident of the State of Wisconsin with a

post office address of W340 N6621 Breezy Point Road, Oconomowoc, Wisconsin 53066.

       9.      Defendant, St. Croix Hospice, LLC, was, at all material times herein, a Minnesota

entity doing business in the State of Wisconsin entity with a principal address of 7755 3rd Street

North, Suite 200, Oakdale, Minnesota 55128.

       10.     Defendant St. Croix Hospice, LLC is a hospice provider with locations that it

owns, operates, and manages throughout the State of Wisconsin and the Midwestern region of

the United States.

       11.     Defendant, Hometown Hospice & Homecare, Inc., was, at all material times

herein, a Wisconsin entity with a principal address of 13255 West Bluemound Road, Suite 103,

Brookfield, Wisconsin 53005.

       12.     Within the three (3) years immediately preceding the filing of this Complaint,

(ECF No. 1), Plaintiff performed compensable work in the State of Wisconsin at facilities or

locations owned, operated, and managed by Defendants.

       13.     For purposes of the FLSA, Defendants were “employers” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

       14.     For purposes of the WWPCL, Defendants were “employers” of Plaintiff, and

Plaintiff was “employed” by Defendants, as those terms, or variations thereof, are used in Wis.

Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.




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       15.     During the relevant time periods as stated herein, Defendants were engaged in

“commerce” and/or its employees were engaged in “commerce,” as that term is defined under

the FLSA.

       16.     During the relevant time periods as stated herein, Defendants, both individually

and collectively, employed more than two (2) employees.

       17.     During the relevant time periods as stated herein, Defendants’ annual dollar

volume of sales or business, both individually and collectively, exceeded $500,000.

       18.     During the relevant time periods as stated herein, Plaintiff was engaged in

commerce or in the production of goods for commerce.

       19.     Plaintiff’s Notice of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) is contemporaneously filed with this Complaint (ECF No. 1).

       20.     Plaintiff brings this action on behalf of herself and all other similarly-situated

current and former hourly-paid, non-exempt employees employed by Defendants within the three

(3) years immediately preceding the filing of this Complaint (ECF No. 1). Plaintiff and all other

hourly-paid, non-exempt employees were subjected to Defendants’ same terms and conditions of

employment and same unlawful compensation policies as enumerated herein, performing the

same or similar job duties at all of Defendants’ physical locations, including but not limited to

the facilities or locations in the State of Wisconsin.

       21.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other current and former hourly-paid, non-exempt employees on

whose behalf Plaintiff brings this Complaint performed compensable work in same or similar job

duties on Defendants’ behalf, at Defendants’ direction, for Defendants’ benefit, and/or with

Defendants’ knowledge.




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       22.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants supervised Plaintiff’s and all other hourly-paid, non-exempt

employees’ day-to-day activities.

       23.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants hired, terminated, promoted, demoted, and/or suspended Plaintiff and

all other hourly-paid, non-exempt employees.

       24.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants reviewed Plaintiff’s work performance and the work performance of all

other hourly-paid, non-exempt employees.

       25.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants established Plaintiff’s and all other hourly-paid, non-exempt

employees’ work schedules and provided Plaintiff and all other hourly-paid, non-exempt

employees with work assignments and hours of work.

       26.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants established the terms, conditions, work rules, policies, and procedures

by which Plaintiff and all other hourly-paid, non-exempt employees abided in the workplace.

       27.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees utilized Defendants’

employment policies, practices, and/or procedures in the performance of their job duties.

       28.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants oversaw, managed, and adjudicated Plaintiff’s and all other hourly-

paid, non-exempt employees’ employment-related questions, benefits-related questions, and

workplace issues.




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       29.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants compensated Plaintiff and all other hourly-paid, non-exempt employees

for hours worked and/or work performed, including with additional forms of compensation, such

as monetary bonuses, commissions, incentives, and/or other rewards and payments.

                                  GENERAL ALLEGATIONS

       30.     In approximately April 2019, Defendant Hometown Hospice & Homecare, Inc.

hired Plaintiff into the position of Occupational Therapist working primarily based out of its

facility or location in Brookfield, Wisconsin.

       31.     In approximately August 2019 or September 2019, Defendant St. Croix Hospice,

Inc. assumed management of Defendant Hometown Hospice & Homecare, Inc., including but

not limited to its facility or location in Brookfield, Wisconsin.

       32.     On or about October 1, 2019, Defendant St. Croix Hospice, Inc. hired Plaintiff

into the position of Occupational Therapist working primarily based out of Defendant Hometown

Hospice & Homecare, Inc.’s facility or location in Brookfield, Wisconsin.

       33.     Plaintiff is still currently employed by Defendants.

       34.     During the entirety of Plaintiff’s employment with Defendants, Plaintiff’s

Occupational Therapist position was an hourly-paid position.

       35.     During the entirety of Plaintiff’s employment with Defendants, Plaintiff’s

Occupational Therapist position was a non-exempt position for FLSA and WWPCL purposes.

       36.     During Plaintiff’s employment with Defendants, Plaintiff performed compensable

work on Defendants’ behalf, with Defendants’ knowledge, for Defendants’ benefit, and/or at

Defendants’ direction in the position of Occupational Therapist.




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       37.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees employed by Defendants

were employed and performed compensable work in hourly-paid, non-exempt job positions as

part of Defendants’ healthcare, homecare, and/or hospice services.

       38.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants maintained employment records and other documentation regarding

Plaintiff and all other hourly-paid, non-exempt employees.

       39.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants maintained a centralized system for tracking and/or recording hours

worked by Plaintiff and all other hourly-paid, non-exempt employees.

       40.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants maintained a centralized system for compensating Plaintiff and all

other hourly-paid, non-exempt employees for all remuneration earned.

       41.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees frequently worked in

excess of forty (40) hours per workweek.

       42.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants knew or had knowledge that Plaintiff and all other hourly-paid, non-

exempt employees frequently worked in excess of forty (40) hours per workweek.

       43.    Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants tracked and/or recorded Plaintiff’s and all other hourly-paid, non-

exempt employees’ hours worked each workweek.




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       44.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants compensated Plaintiff and all other hourly-paid, non-exempt employees

on a bi-weekly basis via paycheck.

       45.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants’ workweek for FLSA and WWPCL purposes was Sunday through

Saturday.

       46.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all current and former hourly-paid, non-exempt employees were

subject to Defendants’ same unlawful compensation policies, practices, customs, and/or schemes

of failing to include all forms of non-discretionary compensation, such as monetary bonuses,

commissions, incentives, awards, and/or other rewards and payments, in their regular rates of

pay for overtime purposes in violation of the FLSA and WWPCL.

       47.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff’s and all other hourly-paid, non-exempt employees’ paychecks did not

properly or lawfully compensate them for all hours worked in a workweek, including those hours

worked in excess of forty (40) hours in a workweek.

       48.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees employed by Defendants

were legally entitled to overtime pay for all hours worked in excess of forty (40) in a workweek.

       49.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants’ unlawful pay practices as described herein resulted in Plaintiff and all

other hourly-paid, non-exempt employees being deprived of compensation for all hours worked

in a workweek at an overtime rate of pay for hours worked in excess of forty (40) in a workweek.




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       50.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants were or should have been aware that their policies in practice did not

properly and lawfully compensate Plaintiff and all other hourly-paid, non-exempt employees at

the correct and lawful rate(s) of pay for all hours worked in a workweek, including but not

limited to an overtime rate of pay for hours worked in excess of forty (40) in a workweek.

              COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       51.     Plaintiff brings this action on behalf of herself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

                      All current and former hourly-paid, non-exempt employees
                      employed by Defendants within the three (3) years
                      immediately preceding the filing of this Complaint (ECF
                      No. 1) who have not been compensated for all hours
                      worked in excess of forty (40) hours in a workweek at the
                      proper, correct, and/or lawful overtime rate of pay as a
                      result of Defendants’ failure to include all forms of non-
                      discretionary compensation in said employees’ regular rates
                      of pay for overtime calculation purposes.

       52.     Plaintiff and the FLSA Collective primarily performed non-exempt job duties

each workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of

forty (40) in a workweek.

       53.     Plaintiff and the FLSA Collective were compensated on an hourly basis (and not

on a salary basis) each workweek and, thus, were legally entitled to overtime pay for all hours

worked in excess of forty (40) in a workweek.

       54.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants compensated Plaintiff and the FLSA Collective with, in addition to an

hourly or regular rate(s) of pay, other forms of non-discretionary compensation – such as




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performance-based and/or attendance-based monetary bonuses and incentives, commissions,

awards, and/or other rewards and payments – on approximately a bi-weekly basis.

       55.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), the monetary compensation that Defendants provided to Plaintiff and the FLSA

Collective were non-discretionary in nature: they were made pursuant to a known plan

(performance or productivity) or formula and/or were announced and known to Plaintiff and all

other current and former hourly-paid, non-exempt employees to encourage and/or reward their

steady, rapid, productive, reliable, safe, consistent, regular, predictable, continued, and/or

efficient work performance and/or hours worked.

       56.     Within the three (3) years immediately preceding the filing of this Complaint

(ECF No. 1), Defendants’ pay practices failed to include all forms of non-discretionary

compensation, such as monetary bonuses, commissions, incentives, awards, and/or other rewards

and payments, in Plaintiff’s and the FLSA Collective’s regular rates of pay for overtime

calculation and compensation purposes during workweeks when said employees worked more

than forty (40) hours during the representative time period.

       57.     Defendants’ deliberate failure to properly compensate Plaintiff and the FLSA

Collective in such a fashion as described in the aforementioned paragraph violated federal law as

set forth in the FLSA.

       58.     Defendants’ unlawful practice as it relates to non-discretionary compensation

described herein failed to compensate and deprived Plaintiff and the FLSA Collective of the

appropriate and lawful overtime wages and compensation due and owing to them, in violation of

the FLSA.




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       59.     Defendants were or should have been aware that their unlawful practice as it

relates to non-discretionary compensation failed to compensate and deprived Plaintiff and the

FLSA Collective of the appropriate and lawful overtime wages and compensation due and owing

to them, in violation of the FLSA.

       60.     Defendants, as a matter of practice, did not include all forms of non-discretionary

compensation in the FLSA Collective’s regular rates of pay for overtime compensation and

calculation purposes. Thus, these practices resulted in Plaintiff and the FLSA Collective being

denied overtime compensation by Defendants at the rate of one and one-half times their regular

hourly rate of pay for hours worked in excess of forty (40) in a workweek.

       61.     Plaintiff’s FLSA Cause of Action is brought under and maintained as an opt-in

Collective Action Pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of the

FLSA Collective, and these Cause of Action may be pursued by those who affirmatively opt in

to this case, pursuant to 29 U.S.C. § 216(b).

       62.     Plaintiff and the FLSA Collective are and have been similarly situated, have and

have had substantially similar job requirements, and/or pay provisions, and are and have been

subject to Defendants’ decisions, policies, plans and programs, practices, procedures, protocols,

routines, and rules willfully failing and refusing to compensate them properly and lawfully with

overtime compensation. Plaintiff’s claims and causes of action as stated herein are the same as

those of the FLSA Collective.

       63.     Plaintiff and the FLSA Collective seek relief on a collective basis challenging,

among any other FLSA violations, Defendants’ pay practices as described herein.

       64.     The FLSA Collective is readily ascertainable. For purpose of notice, the names,

phone numbers, and addresses are readily available from Defendants. Notice can be provided to




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the FLSA Collective via first class mail to the last address known by Defendants and through

posting at Defendants’ locations in areas where postings are normally made.

       65.     Defendants’ conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the FLSA Collective.

                         RULE 23 CLASS ALLEGATIONS - WISCONSIN

       66.     Plaintiff brings this action on behalf of herself and all other similarly situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

                      All current and former hourly-paid, non-exempt employees
                      employed by Defendants within the two (2) years
                      immediately preceding the filing of this Complaint (ECF
                      No. 1) who have not been compensated for all hours
                      worked in excess of forty (40) hours in a workweek at the
                      proper, correct, and/or lawful overtime rate of pay as a
                      result of Defendants’ failure to include all forms of non-
                      discretionary compensation in said employees’ regular rates
                      of pay for overtime calculation purposes.

       67.     The members of the Wisconsin Class are readily ascertainable. The number and

identity of the members of the Wisconsin Class are determinable from the records of Defendants.

The job titles, length of employment, and the rates of pay for each member of the Wisconsin

Class are also determinable from Defendants’ records. For purposes of notice and other purposes

related to this action, their names and addresses are readily available from Defendants. Notice

can be provided by means permissible under Fed. R. Civ. P. 23.

       68.     The proposed Wisconsin Class is so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the

parties and the Court. Although the precise number of such persons is unknown, upon

information and belief, there are over fifty members (50) members of the Wisconsin Class.




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       69.    Plaintiff’s claims are typical of those claims which could be alleged by any

member of the Wisconsin Class, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Class in separate actions. All the members of the

Wisconsin Class were subject to the same corporate practices of Defendants, as alleged herein.

Defendants’ corporate-wide policies and practices affected all members of the Wisconsin Class

similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

member of the Wisconsin Class. Plaintiff and other members of the Wisconsin Class sustained

similar losses, injuries and damages arising from the same unlawful policies, practices and

procedures.

       70.    Plaintiff is able to fairly and adequately protect the interests of the members of the

Wisconsin Class and has no interests antagonistic to the members of the Wisconsin Class.

Plaintiff is represented by counsel who is experienced and competent in both collective/class

action litigation and employment litigation and have previously represented plaintiffs in wage

and hour cases.

       71.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons

to prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual members of the

Wisconsin Class are small in the sense pertinent to a class action analysis, the expenses and




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burden of individual litigation would make it extremely difficult or impossible for the individual

members of the Wisconsin Class to redress the wrongs done to them.

          72.   Important public interests will be served by addressing the matter as a class

action. The adjudication of individual litigation claims would result in a great expenditure of

Court and public resources. However, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of

the Wisconsin Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Wisconsin Class, establishing incompatible standards of

conduct for Defendants and resulting in the impairment of class members’ rights and the

disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can, and is empowered to, fashion methods to efficiently manage this action as a class

action.

          73.   Defendants have violated the WWPCL regarding payment of wages and overtime

premium wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

          74.   There are questions of fact and law common to the Wisconsin Class that

predominate over any questions affecting only individual members. The questions of law and

fact common to the Wisconsin Class arising from Defendants’ actions include, without

limitation, the following: (a) Whether Defendants provided the Wisconsin Class with forms of




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non-discretionary compensation; (b) Whether Defendants maintained an unlawful compensation

system that failed to include these forms of non-discretionary compensation in the Wisconsin

Class’ regular rates of pay for overtime calculation purposes; and (c) The nature and extent of

class-wide injury and the measure of damages for the injury.

       75.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.

                                    FIRST CLAIM FOR RELIEF
                  Violations of the Fair Labor Standards Act of 1938, as Amended
                       (Plaintiff on behalf of herself and the FLSA Collective)

       76.     Plaintiff, on behalf of herself and the FLSA Collective, reasserts and incorporates

by reference all paragraphs set forth above as if restated herein.

       77.     At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       78.     At all times material herein, Defendants were employers of Plaintiff and the

FLSA Collective as provided under the FLSA.

       79.     At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendants as provided under the FLSA.

       80.     Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       81.     Defendants violated the FLSA by failing to account for and compensate Plaintiff

and the FLSA Collective for overtime premium pay at the correct overtime rate of pay for each

hour worked in excess of forty (40) hours each workweek by failing to properly include all forms




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of non-discretionary compensation in the FLSA Collective’s regular rates of pay for overtime

calculation purposes.

       82.     The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods

for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).

       83.     Defendants were (and are) subject to the overtime pay requirements of the FLSA

because Defendants are enterprises engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       84.     Defendants’ failure to properly compensate Plaintiff and the FLSA Collective was

willfully perpetrated. Defendants also has not acted in good faith or with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and as a result thereof,

Plaintiff and the FLSA Collective are entitled to recover an award of liquidated damages in an

amount equal to the amount of unpaid overtime premium pay described above pursuant to

Section 216(b) of the FLSA, 29 U.S.C. § 216(b). Alternatively, should the Court find that

Defendants acted in good faith or with reasonable grounds in failing to pay overtime premium

pay wages, Plaintiff and the FLSA Collective are entitled to an award of pre-judgment interest at

the applicable legal rate.

       85.     As a result of the aforesaid willful violations of the FLSA’s provisions, overtime

compensation has been unlawfully withheld by Defendants from Plaintiff and the FLSA

Collective for which Defendants are liable pursuant to 29 U.S.C. § 216(b).

       86.     Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,




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plus periods of equitable tolling because Defendants acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.

       87.     Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.

                                    SECOND CLAIM FOR RELIEF
             Violations of Wisconsin’s Wage Payment and Collection Laws, as Amended
                       (Plaintiff, on behalf of herself and the Wisconsin Class)

       88.     Plaintiff, on behalf of herself and the Wisconsin Class, re-allege and incorporate

all previous paragraphs as if they were set forth herein.

       89.     At all relevant times: Plaintiff and the Wisconsin Class were employees of

Defendants within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a);

Defendants were employers of Plaintiff and the Wisconsin Class within the meaning of Wis.

Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis. Admin. Code § DWD 272.01(5); and

Defendants employed, and/or continue to employ, Plaintiff and the Wisconsin Class within the

meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and § DWD 272.01.

       90.     Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       91.     At all relevant times, Defendants had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class overtime compensation.

       92.     By failing to properly include all forms of non-discretionary compensation in the

Wisconsin Class’ regular rates of pay for overtime calculations purposes, Defendants willfully




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failed to pay Plaintiff and the Wisconsin Class overtime premium compensation for all hours

worked in excess of forty (40) hours a workweek, in violation of the WWPCL.

         93.      As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendants’ violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendants to cease and desist from their violations of

the Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.

         94.      Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendants pursuant to the WWPCL.

         WHEREFORE, it is respectfully prayed that this Court grant the following relief:

               a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
                  supervised Notice, to all similarly-situated current and former hourly-paid, non-
                  exempt employees employed by Defendants informing them of this action and
                  their rights to participate in this action. Such Notice shall inform all similarly-
                  situated current and qualified former employees of the pendency of this action,
                  the nature of this action, and of their right to “opt in” to this action. Additionally,
                  such notice will include a statement informing the similarly-situated current and
                  qualified former employees that it is illegal for Defendants to take any actions in
                  retaliation of their consent to join this action;

               b) At the earliest possible time, issue an Order certifying this action as a class action
                  pursuant to Federal Rules of Civil Procedure 23;

               c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC
                  as class counsel pursuant to Federal Rules of Civil Procedure 23;

               d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
                  2202, declaring Defendants’ actions as described in the Complaint as unlawful
                  and in violation of the FLSA and Wisconsin Law and applicable regulations and
                  as willful as defined in the FLSA and Wisconsin Law;




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          e) Issue an Order directing and requiring Defendants to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees damages in the form of
             reimbursement for unpaid overtime wages for all time spent performing
             compensable work for which they were not paid pursuant to the rate provided by
             the FLSA and WWPCL;

          f) Issue an Order directing and requiring Defendants to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees liquidated damages
             pursuant to the FLSA and WWPCL in an amount equal to, and in addition to the
             amount of wages and overtime wages owed to them;

          g) Issue an Order directing Defendants to reimburse Plaintiff and all other similarly-
             situated hourly-paid, non-exempt employees for the costs and attorneys’ fees
             expended in the course of litigating this action, pre-judgment and post-judgment
             interest; and

          h) Provide Plaintiff and all other similarly-situated hourly-paid, non-exempt
             employees with such other and further relief, as the Court deems just and
             equitable.

             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES.

             Dated this 12th day of December, 2019

                                           WALCHESKE & LUZI, LLC
                                           Counsel for Plaintiff

                                           s/ Scott S. Luzi _____                    ___
                                           Scott S. Luzi, State Bar No. 1067405
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